Case 1:18-cr-00083-TSE Document 311 Filed 01/28/19 Page 1 of 1 PageID# 6802




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division

UNITED STATES OF AMERICA                      )
                                              )
          v.                                  )
                                              )         Case No.1;18-cr-83
PAUL J. MANAFORT, JR.,                        )
   Defendant.                                 )

                                          ORDER

       Defendant, who was found guilty by a jury of multiple counts of subscribing to

false tax returns. failing to file reports of foreign bank accounts and bank fraud, is

currently scheduled to be sentenced on February 8, 2019 at 9:00 a.m. Because it appears

that resolution of the current dispute in defendant's prosecution in the District of

Columbia may have some effect on the sentencing decision in this case, it is prudent and

appropriate to delay sentencing in this case until the dispute in the D.C. case is resolved.

      Accordingly,

       It is hereby ORDERED that the sentencing hearing currently scheduled for

February 8, 2019, is CANCELLED. Defendant's sentencing will be postponed until

further order of the Court.

       The Clerk is directed to provide a copy of this Ordetto all counsel of record.


Alexandria, Virginia
January 28, 2019
                                                   T. S. Ellis, m
                                                   United States Dis
